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                   IN THE UNITED STATES DISTRICT COURT                       Fl~
                       FOR THE DISTRICT OF MONTANA
                                                                                NOV 2 0 2017
                             BILLINGS DIVISION
                                                                          CIG.k, U :. D:~.r:ct Cour t
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 UNITED STATES OF AMERICA,                     Cause No. CR 05-52-BLG-SPW
                                                         CV 16-89-BLG-SPW
               Plaintiff/Respondent,

        vs.                                  ORDER DENYING § 2255 MOTION
                                             AND DENYING CERTIFICATE OF
 CHUOI DICH SAM,                                   APPEALABILITY

               Defendant/Movant.


       This matter comes before the Court on Defendant/Movant Sam's motion to

vacate, set aside, or correct the sentence under 28 U.S.C. § 2255. Sam seeks relief

under Johnson v. United States,_ U.S._, 135 S. Ct. 2551 (2015), which was

made retroactive to final judgments by Welch v. United States, _ U.S. _, 136 S.

Ct. 1257 (2016).

                            I. Procedural Background

       On April 22, 2005, Sam was indicted in a seven-count indictment for

violations of 18 U.S.C. §§ 1951, 924(c), 922(j) and 922(g)(l). See Plea Agreement

(Doc. 33) at 1-2 ,r 1.

       Sam agreed to plead guilty to Counts 1, 2, and 3. Count 1 charged Sam with

conspiring to obstruct or to attempt to obstruct interstate commerce by robbery of

two casinos in violation of 18 U.S.C. § 1951. Count 2 charged him with

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"unlawfully tak[ing] and obtain[ing] personal property" of the Winner's Circle

casino "against its will by means of actual and threatened force, violence and fear

of injury, immediate and future," to business property. Count 3 charged Sam with

using or carrying a firearm during and in relation to a crime of violence, "to wit, a

violation of 18 U.S.C. § 1951 as charged in Count II" of the indictment. See id. at

2-3 ,r 6A-C.

      The plea agreement recited the following elements:

      Conspiracy to Violate the Hobbs Act, 18 U.S.C. § 1951

            First, beginning on or about July 31, 2004, and ending on or
      about August 1, 2004, there was an agreement between two or more
      persons to commit robbery;

           Second, the defendant became a member of the conspiracy
      knowing of at least one of its objects and intending to help accomplish
      it.

      Hobbs Act, 18 U.S.C. § 1951

            First, that defendant induced persons at the Winner's Circle to
      part with property;

            Second, that defendant did so knowingly and deliberately by
      robbery; and

            Third, that in doing so, interstate commerce was obstructed,
      delayed or otherwise affected.

      Use of Firearm During a Crime of Violence, 18 U.S.C. § 924(c)

            First, the defendant committed the crime of interference with
      commerce by threats or violence as charged in Count II of the
      indictment;
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             Second, the defendant knowingly used a firearm; and

             Third, the defendant knowingly used a firearm during and in
      relation to the crime.

Plea Agreement (Doc. 33) at 4-5 ,r 8; see also Offer of Proof (Doc. 50) at 2-3.

      In exchange for Sam's guilty pleas to Counts 1, 2, and 3, the United States

agreed to dismiss Counts 4, 5, 8, and 9. Id. at 2 ,r 5. (Sam was not charged in

Counts 6 and 7.) Sampled guilty. See Minutes (Doc. 46).

      On March 8, 2006, Sam was sentenced to serve 137 months on Counts 1 and

2, concurrently, and a consecutive seven-year term on Count 3, for a total prison

term of 221 months. See Minutes (Doc. 58); Judgment (Doc. 59) at 2.

      Sam appealed a sentencing guideline issue. See United States v. Sam, No.

06-30186 (9th Cir. Apr. 18, 2007). His conviction became final on July 17, 2007.

See Gonzalez v. Thaler, 565 U.S. 134, 150 (2012).

      Sam now seeks relief under the United States Supreme Court's recent

decision in Johnson v. United States,_ U.S._, 135 S. Ct. 2551 (2015). See also

Welch v. United States,_ U.S._, 136 S. Ct. 1257, 1265 (2016) (holding that

Johnson applies to cases already final when it was issued).

                              II. Legal Background

      A. 18 U.S.C. § 924(e)

      In Johnson v. United States,_ U.S. _, 135 S. Ct. 2551 (2015) ("Johnson"


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or "Johnson If'), the Supreme Court considered once again the meaning of a

provision in the Armed Career Criminal Act ("ACCA"), 18 U.S.C. § 924(e). The

ACCA imposes a harsher sentence on a person convicted of a firearms offense if

the person has three prior convictions for a violent felony or controlled substance

offense. The Act defines a "violent felony" as a felony that:

      (i) has as an element the use, attempted use, or threatened use of
      physical force against the person of another; or

      (ii) is burglary, arson, or extortion, involves use of explosives, or
      otherwise involves conduct that presents a serious potential risk of
      physical injury to another[.]

18 U.S.C. § 924(e)(2)(B). Johnson discussed only the italicized clause, commonly

called the "residual" clause.

      The Supreme Court found the residual clause so vague that it deprived

defendants of fair notice of the consequences of their decisions and so loose that it

invited arbitrary enforcement. Therefore, the decision held, federal sentencing

courts may no longer enhance a defendant's sentence based on a prior conviction

when that conviction qualifies as a "violent felony" only under the residual clause.

See Johnson, 135 U.S. at 2555-60, 2563.

      Johnson did not address either subsection (i) or the first line of subsection

(ii) in§ 924(e)(2)(B). Those provisions remain valid.

      B. 18 U.S.C. § 924(c)(3)

      Sam challenges his conviction not under the ACCA but under 18 U.S.C. §
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924( c)(1 )(A) and (ii) for using or carrying and brandishing a firearm during and in

relation to a "crime of violence." The definition of a "crime of violence" in §

924( c)(3) is not identical to the definition of a "violent felony" in § 924( e)(2)(B),

but it is similar:

       (3) For purposes of this subsection [§ 924( c)] the term "crime of
       violence" means an offense that is a felony and-

       (A) has as an element the use, attempted use, or threatened use of
       physical force against the person or property of another, or

       (B) that by its nature, involves a substantial risk that physical force
       against the person or property of another may be used in the course of
       committing the offense.

18 U.S.C. § 924(c)(3).

       The Court will assume, for the sake of argument, that the residual clause in §

924(c)(3)(B) is unconstitutionally vague for the reasons explained in Johnson. See

Dimaya v. Lynch, 803 F.3d 1110, 1120 (9th Cir. 2015) (holding the residual clause

of 18 U.S.C. § 16(b), which is virtually identical to§ 924(c)(3)(B),

unconstitutionally vague under Johnson), cert. granted, No. 15-1498 (U.S. Sept.

29, 2016). 1

       But, even so, Sam's conviction and sentence under § 924( c) would still be

valid if the "crime of violence" he committed "ha[d] as an element the use,




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         On June 26, 2017, the Supreme Court adjourned without deciding the case. It was
reargued on October 2, 2017.
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attempted use, or threatened use of physical force against the person or property of

another." 18 U.S.C. § 924(c)(3)(A).

      For the following reasons, Sam's conviction and sentence remain valid after

Johnson.

                                           IV. Analysis

      A. Sam's Predicate Crime Was Hobbs Act Robbery

      In the plea agreement, Sam acknowledged that he "committed the crime of

interference with commerce by threats or violence as charged in Count II of the

indictment." Plea Agreement (Doc. 33) at 5 ,r 8. Count 2 evidently charged that

Sam "did unlawfully take and obtain personal property" from the Winner's Circle

casino "against its will by means of actual and threatened force, violence, and fear

of injury, immediate and future," to the business's property. Plea Agreement (Doc.

33) at 3 ,r 6B (presumably quoting indictment);2 see also 18 U.S.C. § 1951(b)(l)

(defining robbery).

      The predicate crime for Sam's conviction under§ 924(c), therefore, is

robbery as defined by the Hobbs Act. To prevail on his§ 2255 motion, Sam must

show that robbery under the Hobbs Act is not a "crime of violence."

      B. Hobbs Act Robbery is a Crime of Violence

      The parties agree that United States v. Mendez, 992 F.2d 1488 (9th Cir.


      2
           Due to the age of the case, the indictment is not available in the electronic docket.
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1993 ), is a relevant precedent. They disagree about what it means. 3 Mendez held

that conspiracy to commit a Hobbs Act robbery is a "crime of violence" under §

924(c)(3)(B). See Mendez, 992 F.2d at 1491-92. After Johnson, that conclusion is

questionable.

       But before considering the status of conspiracy to commit a Hobbs Act

robbery, the Mendez court stated that a Hobbs Act robbery is a crime of violence

under§ 924(c)(3)(A). It said:

       Robbery indisputably qualifies as a crime of violence. See 18 U.S.C.
       § 1951 (b )(1) (containing element of "actual or threatened force, or
       violence").

Mendez, 992 F .2d at 1491.

       The parenthetical phrase describing robbery as containing an "element" of

"actual or threatened force, or violence" refers to§ 924(c)(3)(A)'s requirement that

a crime of violence have, "as an element, the use, attempted use, or threatened use


       3
          Although Sam asserts that "the analysis employed by the court in Mendez is no longer
valid" after Johnson, see Mot. § 2255 (Doc. 91) at 13 n.5, he relies on Mendez to suggest the
Hobbs Act is indivisible-that is, that it defines one crime with one set of elements and various
means of meeting those elements. Sam quotes Mendez's observation that the Hobbs Act
"defines a crime using several permutations, any one of which constitutes the same offense."
Mendez, 992 F.2d at 1490, quoted in Mot. § 2255 at 13. And, to show that a defendant can be
convicted under the Hobbs Act even where there is no use or attempted or threatened use of
physical force, he cites Hobbs Act extortion cases. See Mot. § 2255 at 15 (citing United States v.
Villalobos, 748 F.3d 953 (9th Cir. 2014); United States v. Sturm, 870 F.2d 769 (1st Cir. 1989)).
These cases are relevant to Sam's case only if Mendez dictates that literally all Hobbs Act
"permutations" constitute "the same offense," so that robbery and extortion are two different
means of committing the element of obtaining another's property by unlawful force or threats.
        As explained below, Mendez has been treated and should be read to say that the Hobbs
Act is divisible, and robbery and extortion are two different elements of a Hobbs Act violation or
two different crimes under the Hobbs Act.
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of physical force." Mendez was not a Hobbs Act robbery case, but its

characterization of Hobbs Act robbery as a crime of violence under§ 924(c)(3)(A)

has been treated as binding precedent in the Ninth Circuit. See, e.g., United States

v. Howard, 650 Fed. Appx. 466,468 (9th Cir. 2016); United States v. Allen, 425

F.3d 1231, 1234 n.3 (9th Cir. 2005); United States v. Shivers, 172 F.3d 60, 1999

WL 77960 (9th Cir. Feb. 16, 1999) (unpublished mem. <lisp.).

      A panel of the Ninth Circuit criticized Mendez because it announced the rule

"without any analysis of the elements of robbery as defined in the Hobbs Act."

United States v. Chandler, 743 F.3d 648, 658 (9th Cir. 2014), vacated, -      U.S. - ,

135 S. Ct. 2926 (2015) (vacating and remanding in light of Johnson). Mendez

might be "illogical" or "questionable." Chandler, 743 F.3d at 658. But, even if it

is, that does not mean this Court can ignore it.

      Under the Ninth Circuit's ruling in Mendez, a Hobbs Act robbery is a crime

of violence under the force clause, § 924(c)(3)(A). Johnson has no bearing on§

924(c)(3)(A). If Mendez is still good law, it defeats Sam's§ 2255 motion.

      C. As to Robbery, Mendez Remains the Law in the Ninth Circuit

      Sam's conviction under§ 924(c) is not subject to challenge if the portion of

Mendez holding a Hobbs Act robbery to be a crime of violence under§

924( c)(3 )(A) is still the law of the Ninth Circuit. Generally, a published decision

of the Ninth Circuit Court of Appeals is binding authority that "must be followed


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unless and until overruled by a body competent to do so." Hart v. Massanari, 266

F.3d 1155, 1170 (9th Cir. 2001). Neither the Ninth Circuit nor the Supreme Court

has overruled any part of Mendez.

       But a published decision loses its precedential force when subsequent

binding precedent has "undercut the theory or reasoning underlying the prior

circuit precedent in such a way that the cases are clearly irreconcilable." Gonzalez

v. Arizona, 677 F.3d 383, 389 n.4 (9th Cir. 2012) (en bane) (quoting Miller v.

Gammie, 335 F.3d 889, 900 (9th Cir. 2003) (en bane); Hart, 266 F.3d at 1170;

Jeffries v. Wood, 114 F.3d 1484, 1489 (9th Cir. 1997) (en bane), overruled in part

by Gonzalez, 677 F.3d at 389 n.4). In that case, district courts are instead required

to "consider themselves bound by the intervening higher authority and reject the

prior opinion ... as having been effectively overruled." Gonzalez, 677 F.3d at 389

n.4.

       Because Mendez has not been overruled, the question is whether it is

"clearly irreconcilable" with any of the more recent decisions that Sam invokes:

Mathis v. United States,_ U.S._, 136 S. Ct. 2243 (2016); Descamps v. United

States,_ U.S._, 133 S. Ct. 2276 (2013); Johnson v. United States, 559 U.S. 133

(2010) ("Johnson f'); Leocal v. Ashcroft, 543 U.S. 1 (2003); and the various circuit

decisions applying these cases. See generally Mot.§ 2255 at 10-18.

             1. Mendez Can Be Reconciled With Mathis and Descamps


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       Mendez was decided many years before the Supreme Court clarified, in

Descamps and again in Mathis, that "the first task for a sentencing court faced with

an alternatively phrased statute is ... to determine whether its listed items are

elements or means." Mathis, 136 S. Ct. at 2256. The distinction between elements

and means is important because it indicates whether a particular statute indivisibly

defines a single crime, merely citing different means of proving its elements, or,

instead, whether a statute defines more than one crime, each with its own discrete

set of elements. Whether a statute defines one crime that can be committed by

various means or two or more crimes with different elements matters a lot in

categorical analysis; every means of committing a particular crime must qualify as

a "crime of violence" if any means of committing it is to be one. See Mathis, 136

S. Ct. at 2248-49, 2256; Descamps, 133 S. Ct. at 2276, 2281; Almanza-Arenas v.

Lynch, 815 F.3d 469, 476-79 (9th Cir. 2015) (en bane); Ramirez v. Lynch, 810 F.3d

1127, 1134-38 (9th Cir. 2016). When a statute is divisible, therefore, not every

conviction incurred under the statute must have the use or attempted or threatened

use of physical force as an element.

      As related to the Hobbs Act, for instance, if the Act is indivisible, every

instance of violating the Act must involve force. And plainly it doesn't; extortion

under color of official right, for instance, is committed by inducing a victim to part

with property by wrongfully threatening to use an office to the victim's detriment.

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Force need not be involved. See 18 U.S.C. § 1951(b)(2). But if the Hobbs Act is

divisible-say, into robbery or extortion-then a Hobbs Act robbery might be a

"crime of violence" while a Hobbs Act extortion is not.

       Mendez contains some language suggesting the Hobbs Act is indivisible.

The court says the Act "defines a crime using several permutations, any one of

which constitutes the same offense." Mendez, 992 F.2d at 1490 (emphasis added).

Taken literally, this statement would seem to mean that § 1951 (a) is indivisible, at

least as to some of the terms used in the subsection.

       But the reasoning of the opinion suggests this statement should not be taken

literally:

       A person may be convicted for violating § 1951 if he interferes with
       interstate commerce by robbery, extortion, attempting or conspiring to
       rob or extort, or committing or threatening violence in furtherance of a
       plan or purpose to violate the statute. Thus the question arises
       whether every permutation of§ 1951 must be a "crime of violence" to
       find categorically that a§ 1951 offense is a "crime of violence," or
       whether a categorical finding requires only that the particular
       permutation for which the defendant is convicted be a "crime of
       violence."

Id. In other words, although it did not use the same terms as Descamps and

Mathis, Mendez clearly considered whether§ 1951(a) defined multiple crimes-

robbery, extortion, conspiracy to commit robbery, and so forth-or whether it

defined one crime-viz., interference with commerce by wrongful use of force or

threats.

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      Further, Mendez concluded that the Hobbs Act defines more than one crime.

The court stated that, "where a defendant has been convicted under a statute

describing crimes [plural] of both violence and non-violence, we need only find

that the charged crime for which the defendant was convi~ted constitutes a 'crime

of violence' to conclude categorically that the charged offense may serve as a

predicate for a§ 924(c) violation." Mendez, 992 F.2d at 1491. The court went on

to discuss only robbery, not extortion, and it considered robbery and conspiracy to

rob separately. Since the court did not consider extortion at all, it necessarily

(albeit implicitly) concluded it did not matter whether extortion was a crime of

violence or not.

      Therefore, Mendez tacitly held that§ 195l(a) of the Hobbs Act is divisible

and that robbery and extortion and conspiracy to commit robbery are separate

crimes. See Mendez, 992 F.2d at 1490-91 (discussing United States v. Potter, 895

F.2d 1231 (9th Cir. 1990) (construing Cal. Penal Code§ 26l(a)(2)), and United

States v. Selfa, 918 F.2d 749 (9th Cir. 1990) (construing first and second

paragraphs of 18 U.S.C. § 2113(a)); see also Callanan v. United States, 364 U.S.

587, 595-97 (1961) (holding that Hobbs Act conspiracy is separate crime from

substantive offenses but declining to consider whether the "repetitive" nature of

"some of the substantive sections" indicates they are "variants in phrasing of the

same delict").

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      If Mendez had reasoned or assumed that some robberies under the Hobbs

Act may be violent and others non-violent, it would indeed be irreconcilable with

Mathis and Descamps. But it is only necessary to translate Mendez's terms into the

contemporary terminology and read the opinion as holding, in part, that 18 U.S.C.

§ 195l(a) is divisible. Mathis and Descamps do not "undercut the theory or

reasoning underlying [Mendez] in such a way that the cases are clearly

irreconcilable." Gonzalez, 677 F.3d at 389 n.4.

             2. Mendez Can Be Reconciled With Johnson I (2010)

      Johnson I holds that a crime cannot be characterized as a "violent felony"

unless its elements require proof the defendant used "violent force-that is, force

capable of causing physical pain or injury to another person." Johnson I, 559 U.S.

at 140 (emphasis in original). A crime that may be proved by showing only a use

of"force" in the common-law sense, which includes a mere offensive touch, does

not require "violent force" and so cannot be a "violent felony." Id. at 139.

      Every federal appellate court that has considered the issue after Johnson I

has held that a Hobbs Act robbery necessarily requires proof of the use or

attempted or threatened use of physical force against the person or property of

another within the meaning of§ 924(c)(l)(A). See, e.g., United States v. Rivera,

847 F.3d 847, 848-49 (7th Cir. 2017); United States v. Gooch, 850 F.3d 285, 290-

92 (6th Cir.), cert. denied, No. 16-9008 (U.S. June 5, 2017); United States v. Hill,

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832 F.3d 135, 138-39 (2d Cir. 2016); United States v. House, 825 F.3d 381,387

(8th Cir. 2016); In re St. Fleur, 824 F.3d 1337, 1340 (11th Cir. 2016). As the

United States points out, the traditional concept of robbery is closely related to

physical violence. Black's Law Dictionary "defines 'physical force' as '[f]orce

consisting in a physical act, esp. a violent act directed against a robbery victim."

Resp. to § 2255 Mot. (Doc. 97) at 14 (quoting Johnson I, 559 U.S. at 139

(emphasis added) (quoting Black's Law Diet. 717 (9th ed. 2009)). The current

federal generic definition of robbery does not mention force per se, but it consists

of "aggravated larceny, containing at least the elements of misappropriation of

property under circumstances involving immediate danger to the person." United

States v. Becerril-Lopez, 541 F.3d 881, 891 (9th Cir. 2008) (emphasis altered)

(quoting United States v. Santiesteban-Hernandez, 469 F.3d 376, 380 (5th Cir.

2006), abrogated in part by United States v. Rodriguez, 711 F.3d 541, 554-55 (5th

Cir. 2013) (en bane)).

        Seeking to avoid the weight of this authority, Sam cites cases interpreting

statutes containing similar language and holding that a de minimis use of force

satisfies their "use of force" elements. See, e.g., United States v. Parnell, 818 F .3d

974, 978-82 (9th Cir. 2016). 4 But Sam does not cite a case, and the Court is not


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          One such case is---or was-United States v. Jones, 830 F.3d 142, No. 15-1518-cr (2d
Cir. July 21, 2016). At the time Sam filed his reply brief, the case held that a conviction for first-
degree robbery under New York law, which is similar to the Hobbs Act, was no longer a "crime
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aware of one, holding that a purse-snatching type of robbery-for instance,

running past a pizza delivery driver and grabbing a collection pouch out of his

hands-meets the definition of a Hobbs Act robbery. If and when that happens,

Mendez might no longer be reconcilable with Johnson I. See Howard, 650 Fed.

Appx. at 468 n.1 (citing United States v. Dominguez-Maroyoqui, 748 F.3d 918,

921 (9th Cir. 2014), and reserving the issue). But, so far as Sam can show, that

day has not arrived.

       Sam also cites cases sustaining convictions for extortion under the Hobbs

Act where no violent physical force is involved. See Mot.§ 2255 (Doc. 91) at 15

(citing United States v. Villalobos, 748 F.3d 953 (9th Cir. 2014); United States v.

Sturm, 870 F.2d 769 (1st Cir. 1989)). One can argue that the Hobbs Act's

definitions of robbery and extortion overlap with each other and differ significantly

from traditional definitions. Hobbs Act robbery reaches the act of taking another's

property by threatening future injury to the property of an absent family member.

That is more typical of extortion than robbery. See, e.g., 3 Wayne R. Lafave,

Substantive Criminal Law§ 20.3(a) intro., at 172-73 (2d ed. 2003); § 20.3(d), at



of violence" under the career offender guideline, U.S.S.G. § 4Bl.2(a). See Jones, No. 15-1518-
cr, Opinion (Doc. 96-1) at 19 (2d Cir. July 21, 2016). But the United States petitioned for
rehearing, both on the court's reasoning as to the degree of force under Johnson I and as to the
application of Johnson II to the Sentencing Guidelines. See generally U.S. Pet. for Reh'g (Doc.
108), Jones, No. 15-1518-cr (2d Cir. filed Sept. 13, 2106). The court subsequently withdrew its
opinion. See Jones, 838 F.3d 296 (2d Cir. Oct. 3, 2016). It is now available only in the
electronic record of the case in Pacer.
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186-87; 20.4(a)(4) & n.16 at 200-03; § 20.4(b), at 203-04 & n.31.1 (2d ed. 2003 &

Supp. 2016-2017) (citing Becerril-Lopez, 541 F.3d at 891). But the difference

between Hobbs Act robbery and Hobbs Act extortion lies in robbery's requirement

that the defendant take or obtain property "from the person or in the presence of

another" and "against his will," by means that may include actual or threatened

force, violence, or "fear of injury." The quoted phrases-none of which appear in

the definition of extortion-show that physical force is always involved in robbery,

a fact that distinguishes robbery from extortion under the Hobbs Act.

      Johnson I is not "clearly irreconcilable" with the Mendez court's holding

that Hobbs Act robbery has, as an element, the use or attempted or threatened use

of physical force against the person or property of another.

             3. Mendez Can Be Reconciled With Leocal

      Finally, Sam argues that the Hobbs Act fails to meet the mens rea

requirement of Leocal v. Ashcroft, 543 U.S. 1 (2003). Analogizing bank robbery

under 18 U.S.C. § 2113 to the Hobbs Act, see United States v. Holloway, 309 F.3d

649, 651-52 (9th Cir. 2002), he also argues that intimidation would suffice to meet

the elements of robbery and that intimidation requires only that the victim

experience it, not that the defendant intend to cause it. See Mot. § 2255 at 16-18.

      On these points, the Court disagrees. Intimidation facilitates a taking when

it is perceived as a threat to use physical force. Sam is correct that a victim's

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perception of a threat does not always mean the defendant made a threat. But the

Hobbs Act requires proof that a defendant obtain property "by robbery or
 '

extortion." 18 U.S.C. § 195l(a) (emphasis added). The statute requires proof, in

other words, of goal-driven behavior by the defendant, be it a deployment of force

or violence or intimidating threat, for the purpose of compelling or inducing

someone to give up property. Such conduct falls within the highest form of intent

required by Leocal: the use (or attempted or threatened use) of violence or

unlawful threats as a means to an end. See Leocal, 543 U.S. at 9. Leocal is easily

reconciled with Mendez.

      D. Conclusion: Sam's Motion is Controlled By Mendez

      As explained above, the question is whether Mendez is "clearly

irreconcilable" with subsequent Supreme Court decisions. The answer to that

question is at least "not clearly enough." Its manner of analysis may have been

incomplete or even incorrect, but it is not so clearly incomplete or incorrect that

this Court is bound to overlook it. Therefore, the Court must follow it.

      Because Mendez holds that a Hobbs Act robbery is a crime of violence under

§ 924(c)(3)(A), and because Johnson could only be pertinent to§ 924(c)(3)(B),

Johnson does not support relief for Sam. His § 2255 motion must be denied.

There is no need to consider the United States' procedural defenses.

                          IV. Certificate of Appealability

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      A certificate of appealability is not warranted. Even if Mendez is no longer

good law, that fact would not help Sam to show that he was deprived of a

constitutional right. See 28 U.S.C. § 2253(c)(2). And even if§ 924(c)(3)(B) is

unconstitutional in light of Johnson, Johnson has no bearing on§ 924(c)(3)(A) or

Mendez.


      Accordingly, IT IS HEREBY ORDERED:

      1. Sam' s motion to vacate, set aside, or correct the sentence under 28 U.S.C.

§ 2255 (Doc. 91) is DENIED;

      2. A certificate of appealability is DENIED. The clerk shall immediately

process the appeal if Sam files a Notice of Appeal.

      3. The clerk shall ensure that all pending motions in this case and in CV 16-

89-BLG-SPW are terminated and shall close the civil file by entering judgment in

favor of the United States and against Sam.

      DATED this ~             of November, 2017.


                                     ~Susan P. Watters
                                                         / -d ~
                                      United States District Court




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